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UNITED STATES DISTRICT COURT I L E
EASTERN DISTRICT OF MICHIGAN po
FEB 8.2 290 > i

CLERICg

LS, INS

UNITED STATES OF AMERICA,

| OFFIOR
Plaintiff, 8 OC — “ee RICT COURT
No. 19-cr-20026 _
V. a
Hon. Gershwin A. Drain |

Phanideep Karnati,

Defendant.

 

PETITION FOR WRIT OF HABEAS CORPUS
' AD PROSEQUENDUM

 

Pursuant to 28 US.C.§ 224 1(¢\(5) and Local Rule 72. 1(a)(2)(L), the United -
States of America hereby petitions the court for a writ of habeas corpus ad
prosequendum for defendant, Phanideep Karnati, and states:

Defendant is charged in this case with Conspiracy to commit visa frand and
harbor aliens, 18 US.C. § 371. Defendant is currently incarcerated at the St. Clair
County Jail and is in the custody of Sheriff Tim Donnellon.

Defendant's Motion Hearing has been scheduled for Tuesday, February 25,
2020 at 2:00 before the Honorable Gershwin A. Drain, United States District
Judge, in Room 761 of the Theodore Levin U.S. District Courthouse, 231 W. -

Lafayette Blvd., Detroit, Michigan. A writ of habeas corpus ad prosequendum is

necessary to secure defendant’s presence at that proceeding.
w= Case 2:19-cr-20026-GAD-EAS ECF No. 139 filed 02/03/20 PagelD.1075 | Page 20f4 ;

WHEREFORE, the government requests this Court order the issuance of a ‘a writ oe
of habeas corpus ad Prosequendum directing the St. Clair County Jail Sheriff, the
United States Marshals Service, and any other interested federal law enforcement
officer to produce Phanideep Karnati before the judicial officer and at the place |
and time stated above

- , Respectfully submitted,

MATTHEW SCHNEIDER
United States Attorney |

Timothy P. MeDonald
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226 |
Timothy. McDonald@usdoj. gov
(313) 226-0221.
_ P-64562

 

Date:
2/3/2020 -
Case 2:19-cr-20026-GAD-EAS ECF No. 139 filed 02/03/20 PagelD.1076 Page 3 of 4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

Plaintiff,
No. 19-cr-20026
V. . : :
. Hon. Gershwin A. Drain
Phanideep Karnati,
Defendant.

 

ORDER

 

Pursuant to 28 U.S.C. § 2241(c)(5) and Local Rule 72.1(a)(2)(L), it is hereby
ordered that the government’s Petition for Writ of Habeas Corpus ad
prosequendum be granted and that the Clerk of the Court issue a writ of habeas

corpus ad prosequendum in accordance with the government's petition.

a .
Honorable Anthony P. Patti
United States Magistrate Judge

 

Date: toh ney s Jolp
4 Case 2:19-cr-20026-GAD-EAS. ECF No. 139 filed 02/03/20 PagelD.1077 Page 4 of 4

UNITED STATES DISTRICT. COURT
EASTERN DISTRICT OF MICHIGAN _

UNITED STATES OF AMERICA,

Plaintiff, | ey
7 | No. 19-cr-20026
Vv. | | .
| Hon. Gershwin A. Drain:
~  Phanideep Karnati, | ae
Defendant.

 

_ WRIT OF HABEAS CORPUS AD PROSEQUENDUM

 

TO: . The St. Clair County Jail Sheriff, the United States Marshals Service, and
any other interested federal law enforcement officer. . | a

Pursuant to the foregoing petition and order, you are directed to produce
defendant Phanideep Karnati before the Honorable Gershwin A. Drain, United —
States District Judge, in Room 761 of the Theodore Levin US. District ~
Courthouse, 231 W. Lafayette Blvd. Detroit, Michigan on Tuesday, February 25, -
2020, at 2:00 for his Motion Hearing; and you are also directed to return _

_ defendant Phanideep Karnati to the facility in which he is currently incarcerated |
_ when his presence before this Court is no longer required.
DAVID J. WEAVER

Clerk
By:

 

Deputy Clerk

(Seal)
